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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA
                              FORT LAUDERDALE DIVISION

                                   Case No. 0:15-cv-61736-BB
                  (Florida State Court Case No. 062015-CA-010434-AXXXCE)



 ALEXSAM, INC.,

        Plaintiff/Counterclaim-Defendant,

 v.

 WILDCARD SYSTEMS, INC.,
 eFUNDS CORPORATION, and
 FIDELITY NATIONAL INFORMATION
 SERVICES, INC.,

        Defendants/Counterclaim-Plaintiffs.



       PLAINTIFF ALEXSAM, NOTICE OF STRIKING [DE24] NOTICE (OTHER)


        Plaintiff/Counterclaim-Defendant Alexsam, Inc. (hereinafter, “Alexsam”), by and

 through its undersigned counsel, hereby files this Notice of Striking [DE 24] Notice of Corporate

 Disclosure Statement. Plaintiff/Counterclaim-Defendant will file the corrected document using

 the Certificate of Interested Parties/Corporate Disclosure Statement, as directed by the Clerk's

 Notice to Filer [DE 25].

                Respectfully submitted September 25, 2015,
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 Attorneys for                       /s/ Edward S. Polk
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                                 CERTIFICATE OF SERVICE

         WE HEREBY CERTIFY on this 24th day of September 2015, I electronically filed the

  foregoing document with the Clerk of Court using CM/ECF. I also certify that a true and

  correct copy of the foregoing document is being served on this day upon: Jeffrey Berkowitz,

  Esq., jeffrey.berkowitz@finnegan.com, Two Freedom Square 11955 Freedom Dr. Reston,

  Virginia 20190; R. Benjamin Cassady, Esq., 901 New York Avenue, NW, Washington, DC

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  and Jacqueline K. Burt, Esq., jburt@hgdlawfirm.com, Jonathan R. Miller, Esq.,

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  Atlanta, GA 30339, either via transmission of Notices of Electronic Filing generated by

  CM/ECF or in some other authorized manner for those counsel or parties who are not

  authorized to receive electronic Notices of Filing.

                                       /s/ Edward S. Polk
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